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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                  :
 NICOLE COLEY,                                    :
                                                  :
                Plaintiff,                        :         CIVIL ACTION
                                                  :
                v.                                :         NO. 18-1188
                                                  :
 KATHY L. RUMER, et al.,                          :
                                                  :
               Defendants.
                                           ORDER

              AND NOW, this _5th____ day of March, 2020, IT IS HEREBY ORDERED

AND DECREED that on or before Friday, March 13, 2020, the Parties shall provide status

updates in writing to the Court. The letters shall be faxed to Chambers at (267) 299-5072.




                                                            BY THE COURT:

                                                            /s/ Petrese B. Tucker

                                                            Hon. Petrese B. Tucker, U.S.D.J.
